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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

SHERRY ASBERRY,                        )
                                       )
     Plaintiff,                        )
                                       )   CIVIL ACTION
v.                                     )
                                       )   FILE NO. 1:18-cv-1923
WELLSTAR HEALTH SYSTEM,                )
INC. AND XYZ CORP.,                    )
                                       )
     Defendants.                       )
                                       )

              STIPULATION OF DISMISSAL WITH PREJUDICE

      COME NOW plaintiff, Sherry Asberry, and defendant, WellStar Health

System Inc., and stipulate that the above-styled action shall be and the same

hereby is dismissed as to all defendants WITH PREJUDICE. All parties shall

bear their own costs and expenses of litigation.

      This 28th day of May, 2018.



                                      THE STRICKLAND FIRM, LLC

                                      /s/ Ryan T. Strickland
                                      _____________________________
                                      Ryan T. Strickland
                                      Georgia Bar No. 687904
                                      Attorney for Plaintiff
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                              CERTIFICATE OF SERVICE

        I certify that on this 28th day of May, 2018, I electronically filed the

foregoing Stipulation of Dismissal With Prejudice with the Clerk of Court using the

CM/ECF system, which will automatically send e-mail notification of such filing

to the following counsel of record:


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                                          /s/ Ryan T. Strickland
                                          ________________________
                                          Ryan T. Strickland




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